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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOURTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

KAO LEE YANG,                                              §
                                                           §
          Plaintiff,                                       §
                                                           §
VS.                                                        §     Civil Action No. H-18-161
                                                           §
CHERAMERIE MARINE, LLC., et al.,                           §
     Defendants.                                           §

                 PLAINTIFFS’ OPPOSED MOTION TO REMAND;
           ALTERNATIVELY, MOTION TO DISMISS WITHOUT PREJUDICE1

TO THE HONORABLE UNITED STATES DISTRICT JUDGE

         Plaintiffs file this Motion to Remand pursuant to 28 U.S.C. §1447(c), seeking a remand of

this case to the 164th Judicial District Court of Harris County, Texas, in response to Defendants

Lightering, LLC and Cheramie Marine, LLC’s Removal that was filed January 19, 2018 (Doc.1).

In support thereof, Plaintiffs respectfully show:

                                            I. INTRODUCTION

         Plaintiffs are Kao Lee Yang and her two children, minors SV & TV. Mrs. Yang was the

common law wife of Tai Chi Vong. Mr. Vong was the minors’ father. Mr. Vong was killed

when a crane toppled over on top of him at work. Plaintiffs filed the underlying lawsuit, Cause

No. 2017-62979; In the 164th District Court of Harris County on September 22, 2017, seeking

damages against Defendants Teichman Group, LLC, T&T Marine, Inc., and Express Professional

Services, Inc.2 Plaintiffs added Lightering, LLC to the case on October 3.3 Defendant Lightering


1 Plaintiff Marcus Wilson filed a motion to remand on January 24, 2018; the Court later consolidated his case with the
instant lawsuit. In response to Wilson’s motion to remand, the Court issued an Order denying remand for both
Wilson and the Yang plaintiffs. The Yang plaintiffs had not yet filed a motion to remand at the time of the Order,
however to avoid any issues related to waiver of remand, the Yang plaintiffs file their motion to remand now.
2 Much like the Wilson case, Plaintiffs never sued or served T&T Offshore. Plaintiffs later settled with T&T
Offshore at mediation, but T&T Offshore was never a party in this case or the Wilson case.
3 Ex.1: Plaintiff’s first amended petition.
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answered this lawsuit on November 6, 2017.4 On November 27, 2017, Plaintiffs amended the

petition again to add Defendant Cheramie Marine.5 Without filing an answer, Cheramie Marine

removed this case on January 19, 2018. Plaintiffs voluntarily dismissed Cheramie Marine on

January 22, 2018 (Doc.2).

         For the reasons set forth herein, Plaintiffs’ lawsuit should be remanded in its entirety to the

164th Judicial District Court of Harris County, Texas in which it was filed.

                                         II. CONTROLLING LAW

         There is an open, unsettled question on whether this Court has federal question jurisdiction

over Plaintiffs’ claims against Cheramie Marine based solely on admiralty jurisdiction.6 This

Court, however, does not have to consider this question because all claims against Cheramie

Marine were dismissed, the claims against the T&T defendants were settled, and Plaintiffs’

remaining claims are purely state-law claims, over which this Court does not have original

jurisdiction.7 There is no diversity jurisdiction either as discussed below. Therefore, pursuant to

28 U.S.C. § 1447(c) and § 1367(c), Plaintiffs respectfully request that this Court decline to

exercise supplemental jurisdiction over Plaintiffs’ state-law claims, and also determine that there




4 Ex.2: Lightering, LLC’s Answer.
5 Ex.3: Plaintiff’s second amended petition.
6 See Sanders v. Cambrian Consultants (CC) Am., Inc., 132 F.Supp.3d 853, 855 (S.D. Tex. 2015); Ritchy v. Kirby
Corp., 2015 WL 4657548, at *3 (S.D. Tex. Aug. 5, 2015)(Hanks, J.); Alexander v. Seago Consulting, LLC, 2014 WL
2960419, at *1 (S.D. Tex. June 23, 2014)(Hoyt, J.); Clear Lake Marine Ctr., Inc. v. Leidolf, 2015 WL 1876338, at *1–
3 (S.D. Tex. Apr. 22, 2015)(Lake, J.); Serigny v. Chevron U.S.A., Inc., No. 14–0598, 2014 WL 6982213, at *4 (W.D.
La. Dec. 9, 2014)(collecting cases); Parker v. U.S. Environmental Svcs., LLC, G–14–292, 2014 WL 7338850
(S.D.Tex. Dec.22, 2014) (Ellison, J.); Figueroa v. Marine Inspection Services, 28 F.Supp.3d 677 (S.D. Tex. 2014)
(Ramos, J.); Rutherford v. Breathwite Marine Contractors, Ltd., No. G–13–0312, 2014 WL 6388786 (S.D.Tex.
Nov.12, 2014) (Gilmore, J.); Waddell v. Edison Chouest Offshore, No. G–14–170, 2015 WL 1285718 (S.D. Tex.
March 20, 2015) (Harmon, J.); Rogers v. BBC Chartering America, LLC, No. H–13–3741, 2014 WL 819400 (S.D.
Tex. March 3, 2014) (Hoyt, J.); Mims v. Deepwater Corrosion Servs., Inc., 90 F.Supp.3d 679, 691 (S.D. Tex. 2015);
Forde v. Hornblower New York, LLC, 243 F.Supp.3d 461, 468 (S.D.N.Y. 2017); Sanders; Gregoire v. Enterprise
Marine Services, LLC, 38 F.Supp.3d 749, 759–62 (E.D. La.2014) (Duval, J.).
7 In the event Lightering contends the claims against it do invoke federal jurisdiction, its right to remove those claims
based on such was waived long ago. See 28 U.S.C. § 1441(b)(1) (requiring notice of removal be filed within 30 days
after a defendant receives through service “or otherwise” of a copy of the initial pleading).



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is no diversity jurisdiction, and that this case be remanded to the 164th Judicial District Court of

Harris County, Texas.

       A.      Standard for remand.

       A federal court has subject matter jurisdiction over two types of cases: (1) those arising

under the Constitution, laws, or treaties of the United States (federal question jurisdiction), and (2)

those in which there is complete diversity of citizenship and the amount in controversy exceeds

$75,000 (‘diversity’ jurisdiction).” See 28 U.S.C. §§ 1331, 1332.

       “The removing defendant bears the burden of establishing federal jurisdiction. Winters v.

Diamond Shamrock Chem. Co., 149 F.3d 387, 397 (5th Cir. 1998) “Because removal raises

significant federalism concerns, the removal statute is strictly construed ‘and any doubt as to the

propriety of removal should be resolved in favor of remand.’” Gutierrez v. Flores, 543 F.3d 248,

251 (5th Cir. 2008) (quoting In re Hot–Hed, Inc., 477 F.3d 320, 323 (5th Cir. 2007)).

       B.      The Court lacks original jurisdiction over any of Plaintiffs’ remaining claims.

       General maritime claims are not removable on that basis alone (see Footnote 6).

However, the Court does not need to consider that question to determine whether it has original

jurisdiction over this case. On January 22, 2018, Plaintiffs voluntarily dismissed all claims

against Cheramie Marine. [Doc. 2]. Plaintiffs were entitled to voluntarily dismiss the claims

against Cheramie Marine under Federal Rule of Civil Procedure 41, which provides that a plaintiff

has the absolute right—without the need for court action—to dismiss claims against a defendant

who has not yet filed either an answer or a summary judgment motion. See Fed. R. Civ. P.

41(a)(1)(A)(i). A notice of dismissal filed under Rule 41(a)(1)(A)(i) is self-executing and

instantaneous. See, e.g., American Cyanamid Co. v. McGhee, 317 F.2d 295, 297 (5th Cir. 1963)

(holding that voluntary dismissal notice under Rule 41(a)(1)(A)(i) itself closes the file).




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           It is undisputed that Plaintiffs’ claims against Cheramie Marine formed the only basis for

federal question jurisdiction. In fact, Defendant’s notice of removal provides as much: “Plaintiff

has asserted claims against Cheramie, the owner of the Elliott Cheramie, and any claims against

Cheramie by definition are claims for damage caused by a vessel under the Admiralty Extension

Act, 46 USC § 30101.8 Plaintiff’s remaining claims against Lightering are purely Texas state-law

negligence claims and do not implicate federal question jurisdiction.               To the extent that

Lightering does contend that the claims against it implicate federal question jurisdiction, the

deadline for it to remove based on such basis came and went long ago. Lightering also removed

based on diversity. However, as demonstrated below, this Court lacks diversity jurisdiction

because there is not complete diversity of citizenship among the parties. Therefore, the only basis

for jurisdiction over Plaintiff’s remaining state-law claims is supplemental jurisdiction under 28

U.S.C. § 1367(a). This Court should decline to hold this case on that basis.

           C.     This Court should decline to exercise supplemental jurisdiction over
                  Plaintiffs’ remaining state-law claims and remand this case.

           Under 28 U.S.C. § 1367(a), in a civil action where a district court has original jurisdiction,

the district court “shall have supplemental jurisdiction over all other claims that are so related to

claims in the action within such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). However,

a district court “may decline to exercise supplemental jurisdiction over a claim under subsection

(a) if –

           (1)    the claim raises a novel or complex issue of State law,

           (2)    the claim substantially predominates over the claim or claims over which the

district has original jurisdiction,



8 Cheramie Marine’s notice of removal, Doc. 1, page 6.



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        (3)      the district court has dismissed all claims over which it has original jurisdiction, or

        (4)      in exceptional circumstances, there are other compelling reasons for declining

jurisdiction.”

        28 U.S.C. § 1367(c). The Fifth Circuit applies the § 1367(c) “statutory factors” in a

balancing test to determine whether remand is appropriate. See Enochs v. Lampasas Cnty., 641

F.3d 155, 158-59 (5th Cir. 2011); see also Mendoza v. Murphy, 532 F.3d 342, 346 (5th Cir. 2008)

(noting that “no single factor is dispositive”). Additionally, the United States Supreme Court has

created a set of “common law factors” to be considered, which include “judicial economy,

convenience, fairness, and comity.” Enochs, 641 F.3d at 159 (citing Carnegie-Mellon Univ. v.

Cohill, 484 U.S. 343, 350 (1988)).

        1.       Federal courts heavily favor remand where federal claims are dropped early
                 in litigation, leaving only state-law claims.

        It is well-settled under United States Supreme Court and Fifth Circuit jurisprudence that a

remand of remaining state-law claims is heavily favored when federal claims are dismissed early

in the litigation. As the United States Supreme Court stated in Carnegie-Mellon, “[w]hen the

single federal-law claim in the action [is] eliminated at an early stage of the litigation, the District

Court ha[s] a powerful reason to choose not to continue to exercise jurisdiction.”

Carnegie-Mellon, 484 U.S. at 351. Both the United States Supreme Court and the Fifth Circuit

have long cautioned district courts that “[n]eedless decisions of state law should be avoided both as

a matter of comity and to promote justice between the parties, by procuring for them a surer-footed

reading of applicable law.” Mine Workers v. Gibbs, 282 U.S. 715, 726 (1966); see also Enochs,

641 F.3d at 162 (“The courts in this circuit must remain diligent in following the Supreme Court’s

almost fifty-year-old command that federal courts avoid needless decisions of state law.”).




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       Therefore, “the general rule is that a court should decline to exercise jurisdiction over

remaining state-law claims when all federal-law claims are eliminated before trial.” Brookshire

Bros. Holding, Inc. v. Dayco Prods., Inc., 554 F.3d 595, 602 (5th Cir. 2009). It is an abuse of

discretion to exercise supplemental jurisdiction where the only federal claims have been dismissed

early and the statutory and common law factors favor remand. Enochs, 641 F.3d at 161-62 (“Our

deference cannot stretch so far as to find no abuse of discretion where, as is the case here, all

federal claims were deleted at the infancy of the case and the balance of the statutory and common

law factors weigh heavily in favor of remand.”); see also Beiser v. Weyler, 284 F.3d 665, 675 (5th

Cir. 2002) (noting that where “no other grounds for federal jurisdiction exist, the court must

ordinarily remand the case back to state court”).

       The Fifth Circuit’s opinions in Enochs and Parkery & Parsley demonstrate that this Court

should decline to exercise its supplemental jurisdiction and should instead remand this case back

to Texas state court. In Parker & Parsley Petroleum Company v. Dresser Industries, the plaintiff

originally elected to file suit in federal court based on federal question jurisdiction. See Parker &

Parsley Petroleum Co. v. Dresser Indus., 972 F.2d 580, 587-89 (5th Cir. 1992). However, the

plaintiff’s only federal claim was later dismissed one month before trial, leaving only purely

state-law claims. Id. Over the nine months that the case had been pending, the parties engaged in

extensive discovery and motion practice. Id.

       Nevertheless, the Fifth Circuit found that the district court abused its discretion by

continuing to exercise supplemental jurisdiction over the remaining state-law claims. Specifically,

the Fifth Circuit held that “a number of facts and circumstances weigh[ed] in favor of relinquishing

jurisdiction,” which included, among others, that (1) the case was “only nine months” old; (2) trial

was “still a few weeks away;” (3) “discovery had not been completed;” (4) remaining in federal

court would not “prevent[ ] redundancy [or] conserve[ ] substantial judicial resources;” (5) there



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would be no “undue inconvenience” such as a “tremendous financial drain” or a necessity for new

legal research if the case was remanded; (6) the parties would not be prejudiced by remand; and (7)

“important interests of federalism and comity” heavily favored remand. See Enochs, 641 F.3d at

162 (quoting Parker & Parsley, 972 F.2d at 587-89).

       This case is most similar to Enochs v. Lampasas County. There, a former employee of

Lampasas County sued the County in Texas state court based on one state law claim and two

federal claims. Enochs, 641 F.3d at 157. The County removed the case to federal court based on

the federal claims. Id. Less than three months later, the plaintiff filed an unopposed motion to

amend his complaint to delete all federal claims and filed a separate motion to remand since only a

state law claim would remain after amendment. Id. The district court granted the plaintiff leave

to remove the federal claims from his complaint but denied his motion to remand. Id. at 157-58.

       Noting that the circumstances in Enochs favored remand far more than those in Parker &

Parsley, the Fifth Circuit held that the district court abused its discretion by failing to remand the

case to state court. Id. at 162-63. Specifically, the court noted:

       [W]hen this case became a purely Texas state law dispute, it was still in its infancy
       (less than three months old), no discovery had occurred, no hearings or trial dates
       had been scheduled, the district court was not even moderately familiar with any of
       the Texas state law issues, no financial or other inconvenience would have
       occurred, and no prejudice would have arisen.

Id. at 162. Accordingly, the Fifth Circuit found that the statutory and common law factors

“weigh[ed] heavily in favor of remanding the pendent Texas state law claims.” Id. at 163.

       2.      Applying the reasoning in Parker & Parsley and Enochs, both the statutory
               and common law factors favor remand here.

       Both the statutory factors in 28 U.S.C. § 1367(c) and the common law factors heavily

weigh in favor of remanding this case.

               a.      The statutory factors




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       Most notably, the second and third statutory factors strike a heavy balance in favor of

remand. As in Enochs, the second statutory factor favors remand because Plaintiffs’ state-law

tort claims “substantially predominate over the claim or claims over which the district has original

jurisdiction” because the federal claims are nonexistent. 28 U.S.C. § 1367(c)(2); see Enochs, 641

F.3d at 159 (finding that the plaintiff’s “Texas state law claims predominate over the non-existent

federal claims”). Likewise, the third factor also favors remand because “the district court has

dismissed all claims over which it has original jurisdiction.” 28 U.S.C. § 1367(c)(3); see Enochs,

641 F.3d at 159 (finding that “the district court dismissed all federal claims when it granted

[plaintiff’s] motion to file an amended complaint”). Additionally, the first factor, which considers

whether “the claim raises a novel or complex issue of State law,” favors remand because this case

involves multiple plaintiffs and plaintiff/intervenors who have asserted personal injury claims

against several defendants. See 28 U.S.C. § 1367(c)(1). Due to its size, this case will likely

involve novel and complex issues of Texas state law. Based upon comments made at mediation,

Defendant Lightering will likely challenge Yang’s marriage status, liability of Lightering based on

Chapter 95 of the CPRC, premises liability defenses, etc.

       Finally, the fourth factor, which considers whether “in exceptional circumstances, there are

other compelling reasons for declining jurisdiction,” favors remand because the heavy balance of

the common law factors in favor of remand constitute a compelling reason for this Court to decline

supplemental jurisdiction. 28 U.S.C. § 1367(c)(4). Accordingly, “the overall balance of the

statutory factors weighs heavily in favor of remand.” Enochs, 641 F.3d at 159.

               b.      The common law factors

       The common law factors, which include “judicial economy, convenience, fairness, and

comity,” also weigh in favor of remand. See id. (citing Carnegie-Mellon, 484 U.S. at 353). Just

like in Enochs, this case is only several months old. The federal case is only about one month old.



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No discovery has occurred, only a single hearing has occurred (to effectuate two settlements), and

no trial date has been set. And no federal judicial resources have been devoted to consideration of

the state law claims against Lightering. Like Enochs, there is also “no indication that the district

court had any ‘substantial familiarity’ or was intimately familiar with the Texas state law claims at

such an early stage of the litigation.” Id.

        Furthermore, as in Enochs, “[t[here would be no need for either party to duplicate any

research, discovery, briefing, hearings, or other trial preparation work, because very little ha[s]

been done at th[is] point.” Enochs, 641 F.3d at 159. Indeed, it is difficult to imagine what

inconvenience, harm, or prejudice to Lightering would incur if this case was remanded back to

state court in Houston. Accordingly, “the judicial economy factor certainly favors remand” here.

See id. at 160 (holding that judicial economy factor favored remand because little work had been

done by the district court or the parties regarding the state law claims).

        As to the convenience factor, there is no indication that this case would be more convenient

in this court than in state court. In fact, the courts are only blocks from one another. Moreover,

as the Fifth Circuit noted in Enochs, the judicial economy and convenience factors are interrelated,

so remand will not cause any financial inconvenience to the parties because they will not have “to

duplicate any of their previous efforts or expenses.” Id.

        Next, this Court should consider fairness. In Enochs, the Fifth Circuit found that “it was

certainly fair to have had the purely Texas state law claims heard in Texas state court, and there is

nothing to indicate that either party would have been prejudiced by a remand to Texas state court.”

Id. (citing Parker & Parsley, 972 F.2d at 588). The same is true here—there is nothing to indicate

that any party would be prejudiced by a remand back to state court. See Enochs, 641 F.3d at 161

(“The mistake which led the district court to abuse its discretion was in failing to reconsider its

jurisdiction over the Texas state law claims as of the moment it granted [plaintiff’s] motion to file



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an amended complaint deleting all federal claims from the case. Courts are instructed to examine

their jurisdiction at every stage of the litigation.”) (citation omitted).

         Finally, as the Fifth Circuit held in Enochs, given that only purely state-law claims

remain—over which no party argues there is federal question or diversity jurisdiction—“comity

demands that the ‘important interests of federalism and comity’ be respected by federal courts,

which are courts of limited jurisdiction and ‘not as well equipped for determination of state law as

are state courts.’” Id. at 160; see also Parker & Parsley, 972 F.2d at 587-89; Gibbs, 383 U.S. at

726 (cautioning that “[n]eedless decisions of state law should be avoided”).

         Therefore, the overall balance of both the statutory and common law factors weighs

heavily in favor of remand.

         3.     Plaintiffs have not engaged in improper forum manipulation.

         Finally, federal courts have been “instructed to guard against improper forum

manipulation.” Enochs, 641 F.3d at 158 (citing Carnegie-Mellon, 484 U.S. at 357). However,

the Fifth Circuit recognizes that “plaintiffs get to pick their forum and pick the claims they want to

make unless they are blatantly forum shopping.” Guzzino v. Felterman, 191 F.3d 588, 595 (5th

Cir. 1999). The concern of “improper forum manipulation” is “not so serious of a concern that it

can become a trump card which overrides all of the other factors [courts] are instructed to consider

and balance.” Enochs, 641 F.3d at 161. Accordingly, the Fifth Circuit has found that plaintiffs

can amend their complaints to delete the remaining federal claims without engaging in “improper

forum manipulation.” See, e.g., Giles v. NYLCare Health Plans, Inc., 172 F.3d 332, 340 (5th Cir.

1999).

         Like the plaintiff in Enochs, Plaintiffs have not engaged in improper forum manipulation,

so this factor does not outweigh the other factors which support a remand here. See Enochs, 641

F.3d at 161-62 (finding that the plaintiff’s decision to drop his federal claims was “not a



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particularly egregious form of forum manipulation, if it is manipulation at all”); see also Parker &

Parsley, 972 F.2d at 582, 590 (finding that the district abused its discretion in exercising

supplemental jurisdiction even where the plaintiff had chosen to file its claims in federal court

originally). Here, Plaintiffs originally filed suit in state court in Houston and only alleged what

they believed to be state-law claims. Plaintiffs sued a Harris County defendant who did not

attempt to transfer the case to any other county. Plaintiffs believed then, as they do now, that

there was no basis for removal. Now that the case has again become a purely Texas state-law

dispute, Plaintiffs merely seek to return to the court where the case was originally filed, and in

which they believe the case belongs. As such, Plaintiffs have not engaged in improper forum

manipulation, and this consideration does not weigh against remand.

        D.       This Court does not have diversity jurisdiction over Plaintiffs’ remaining
                 state-law claims.

        Defendant Lightering contends that this Court has diversity jurisdiction because it is a

non-local defendant. This argument, however, lacks merit because the Yang and Wilson cases

were consolidated. And because Plaintiff Wilson’s case still includes Defendants T&T Marine

and Teichman Group – both local defendants – and those defendants remain in the consolidated

case, no diversity jurisdiction can exist.9

        Lightering, LLC removed this case based upon its citizenship; and, in fact, Lightering

argued that it was an LLC “organized under the laws of…Liberia…[and] [i]ts sole member…[is] a

Marshall Islands corporation.”10 However, the citizenship of the “Marshall Islands corporation”

is in The Woodlands, Texas. Citizenship of corporations is defined by 28 U.S.C. §1332(c): “a

corporation shall be deemed to be a citizen of any State by which it has been incorporated and of

the State where it has its principal place of business[.]” (emphasis added)


9 Plaintiff Wilson did not sue or serve T&T Offshore in the removed and consolidated case.
10 Cheramie Marine’s notice of removal, Doc. 1, page 5.



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          The Supreme Court set forth the test for determining corporate citizenship

in Hertz Corporation v. Friend, 559U.S. 77 (2010). The Supreme Court explained the corporate

citizenship test as follows:

          We conclude that “principal place of business” is best read as referring to the
          place where a corporation's officers direct, control, and coordinate the
          corporation's activities. It is the place that Courts of Appeals have called the
          corporation's “nerve center.” And in practice it should normally be the place
          where the corporation maintains its headquarters-provided that the headquarters
          is the actual center of direction, control, and coordination, i.e., the “nerve center,”
          and not simply an office where the corporation holds its board meetings.

Id. at 92–93 . A corporation's principal place of business is normally where the corporation

provides direction, control, and coordination for the business. Id. at 93.

          In the instant case, Lightering LLC only has a single office – in The Woodlands, Texas.11

Before that it was in Houston, Texas. 12 The MSA between Lightering and T&T describes

Lightering as located in Houston.13 And Lightering itself admits that its principal office in this

state is in Texas.14 More importantly, a simple review of Lightering’s corporate officers reveals

that many (if not all) operate out of The Woodlands office. Importantly, Lightering’s managing

director and/or president, Clayton Wrenn-Morton,15 is based in The Woodlands, Texas office and

lives in Montgomery County, Texas.16 Mrs. Wrenn-Morton also previously provided testimony

that Lightering’s predecessor company’s (OSG Lightering) headquarters was located in

Houston.17 There are other corporate officers that live in Texas, as well. Jim Enright is the




11   Ex. 4 Lightering, LLC website.
12   Ex. 5 Application for Registration of a Foreign LLC for predecessor company, OSG Lightering, LLC.
13   Ex. 6 MSA between T&T Offshore and OSG Lightering.
14   Ex. 2 Lightering’s Motion to Transfer Venue and Original Answer.
15   Ex. 7 Clayton Wrenn-Morton LinkedIn profile.
16   Ex. 8 Property records for Clayton Wrenn-Morton.
17   Ex. 11 Deposition testimony of Clayton Wrenn Morton.



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previous president of OSG Lightering18, and a current Managing Director of Lightering.19          Mr.

Enright lives in the Houston area and offices in The Woodlands office location.20

        The “nerve center” for Lightering, or where the corporate officers direct, control, and

coordinate the Lightering’s activities, is the same location where its president and managing

directors work on a daily basis. There is absolutely or evidence that any business is conducted in

either the Marshall Islands or Liberia. There is no evidence that Lightering has any office, other

than in Texas, that provides direction, control, and coordination for its business. Frankly; there is

no evidence that Lightering has any other office at all. To the extent Lightering does make such a

claim, Plaintiffs respectfully requests the right to conduct discovery on same.

                            III.     ALTERNATIVELY, MOTION TO DISMISS

        Alternatively, pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiffs move to

dismiss without prejudice their claims against Lightering. See Fed. R. Civ. P. 41(a)(2). Motions for

voluntary dismissal should be freely granted unless the nonmoving party will suffer some plain

legal prejudice other than the mere prospect of a second lawsuit. See Manshack v. Southwestern

Elec. Power Co., 915 F.2d 172, 174 (5th Cir.1990). The primary purpose of Rule 41(a)(2) is to

“prevent voluntary dismissals which unfairly affect the other side, and to permit the imposition of

curative conditions.” Id. (citing 9 C. Wright & A. Miller, Federal Practice and Procedure § 2364, at

165 (1971)). Therefore, faced with a Rule 41(a)(2) motion the district court should first ask

whether an unconditional dismissal will cause the non-movant to suffer plain legal prejudice. If

not, it should generally, absent some evidence of abuse by the movant, grant the motion. If the

district court concludes that granting the motion unconditionally will cause plain legal prejudice, it

has two options, it can deny the motion outright or it can craft conditions that will cure the


18 Ex. 5 OSG Lightering application for registration.
19 Ex. 9 Jim Enright LinkedIn profile.
20 Ex. 10 Property records for Jim Enright.



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prejudice. The exclusive basis for this Court’s original subject matter jurisdiction, federal

question, was destroyed when Cheramie Marine was dismissed. Plaintiffs have no claims arising

under federal law. There is incomplete diversity of jurisdiction among Plaintiffs and the remaining

defendants. Defendants will not suffer any plain legal prejudice by this dismissal. Almost no

discovery has yet occurred in this case and no depositions have occurred. For these reasons, and in

the alternative, Plaintiffs respectfully asks this Court to dismiss their claims against the remaining

Defendants without prejudice as to refilling.

                                          IV.    CONCLUSION

       For the foregoing reasons, well-established United States Supreme Court and Fifth Circuit

precedent weigh heavily in favor of remanding to state court in Houston for Plaintiffs’ remaining

state law negligence claims. Therefore, Plaintiffs respectfully request that this Court decline to

exercise its supplemental jurisdiction and remand this case back the 164th Judicial District Court

of Harris County, Texas. Plaintiffs further request any other relief to which they may be entitled.

                                                  Respectfully submitted,

                                                  THE BUZBEE LAW FIRM

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                                   CERTIFICATE OF CONFERENCE

       I hereby certify that Plaintiff’s counsel conferred with all interested parties in accordance with
the Federal Rules of Civil Procedure on February 16, 2018, but none of the interested parties
responded to Plaintiff’s letter. Accordingly, this motion is being filed as opposed.



                                                                   /s/ Christopher J. Leavitt
                                                                     Christopher J. Leavitt




                                      CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of this document will be served or has been served
on all interested parties in accordance with the Federal Rules of Civil Procedure on the February 16,
2018, Service on E-Filing Users will be automatically accomplished through the Notice of Electronic
Filing; non-Filing Users will be served by certified mail, return receipt requested and/or via facsimile




                                                                   /s/ Christopher J. Leavitt
                                                                     Christopher J. Leavitt




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